Case 8:20-cv-00048-JVS-JDE Document 744-10 Filed 05/25/22 Page 1 of 3 Page ID
                                 #:52013




                   EXHIBIT 8
  Case 8:20-cv-00048-JVS-JDE Document 744-10 Filed 05/25/22 Page 2 of 3 Page ID
                                   #:52014




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                                                                                                     Mark Kachner
                                                                                         Mark.Kachner@knobbe.com


January 14, 2022

VIA EMAIL

Brian Andrea
Gibson, Dunn & Crutcher LLP
1050 Connecticut Avenue, N.W.,
Washington, DC 20036-5306
BAndrea@gibsondunn.com

Re:    Masimo Corp. and Cercacor Laboratories v. Apple Inc.
Dear Brian:
We write in response to your January 12, 2022, letter regarding Masimo’s responses to Apple’s 15th Set
of Requests for Production. Apple’s letter does not request a meet and confer, but for RFP 354, Apple
states that it would be “happy” to meet and confer. If Apple seeks to meet and confer, please
specifically identify any issue you wish to meet and confer on.
RFPs 347-352: As Apple recognizes, these RFPs concern all of Plaintiffs’ products or planned products
that are intended to measure physiological parameters. Accordingly, as we explained in our objections,
the requests encompass “all or nearly off of Plaintiffs’ portfolio of monitoring products dating back to
the early 1990s.” As such, taken together, these requests appear to seek production of nearly every
document Plaintiffs ever possessed. Apple “disagrees with Plaintiffs’ characterizations of these RFPs.”
But Apple does not explain how these RFPs seek a narrower set of documents. We disagree with
Apple’s assertion that these requests “parallel” Masimo’s requests because Masimo did not seek every
document about every product Apple has ever made. The scope of these RFPs and magnitude of
responsive documents is not comparable to the scope or magnitude of Masimo’s requests that you
identified in your January 12, 2022 letter. You also fail to address the proportionality of your requests,
and instead state merely that “[w]ith regards to proportionality and breadth, Apple has produced
documents responsive to your comparable RFPs without issue.”
RFPs 353-354: RFP 353 is similar in scope to Apple’s RFPs 347-352. The discussion above applies
equally to RFP 353, and Masimo maintains its objections. For RFP 354, Apple made no attempt to
explain what it means by “wrist-worn product” so that we can better understand the potential scope of
any additional inspection Apple seeks. Please identify what specifically Apple is seeking.
RFPs 355-357: Apple contends with no explanation that “BlackRock’s ownership interest in Masimo,
and Masimo’s agreements with Blackrock, are relevant to Plaintiff’s alleged ownership interests in their
purported trade secrets, and Plaintiffs’ efforts to maintain the secrecy of their purported trade secrets.”
Apple has not explained how communications with a shareholder could have any bearing on these issues
or any issue in the lawsuit.


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                                                                                                                          Exhibit 8
                                                                                                                           Page 1
   Case 8:20-cv-00048-JVS-JDE Document 744-10 Filed 05/25/22 Page 3 of 3 Page ID
                                    #:52015
                                                                              Page 2




                                            Best regards,




                                            Mark D. Kachner
54907697




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                                                                                   Exhibit 8
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